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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


SECURITIES AND EXCHANGE COMMISSION,

                                     Plaintiff,
                                                            C.A. No.: 18-2150
                          v.

AKORN, INC., TIMOTHY DICK, AND DAVID
HEBEDA

                                     Defendants.


PLAINTIFF’S MOTION FOR ENTRY OF FINAL JUDGMENTS, BY CONSENT, AS TO
     DEFENDANTS AKORN, INC., TIMOTHY DICK, AND DAVID HEBEDA

       Plaintiff U.S. Securities and Exchange Commission (the “Commission”) hereby moves,

on an agreed basis, for entry of the attached Final Judgments as to Defendants Akorn, Inc.,

Timothy Dick, and David Hebeda (together “Defendants”). In support of this motion, the

Commission states as follows:

       1.      The Commission and Defendants have each reached a proposed settlement, which

would resolve all of the claims in this action.

       2.      Attached hereto as Exhibit A are the proposed Final Judgments for each of the

Defendants.

       3.      Attached hereto as Exhibit B are the executed Consents for each of the

Defendants, in which each of the Defendants have agreed to the terms of the proposed Final

Judgments and consented to their immediate entry.

       4.      Entry of the proposed Final Judgments for each of the Defendants will further the

interests of justice and judicial economy.




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       WHEREFORE, for the foregoing reasons, the Commission respectfully requests that the

Court grant this motion and enter the proposed Final Judgments.



                                                    Respectfully Submitted,

                                                    UNITED STATES SECURITIES AND
                                                    EXCHANGE COMMISSION
 Dated: March 26, 2018                              s/ Michael J. Mueller
                                                    Michael J. Mueller (IL #6297254)
                                                    Attorney for Plaintiff
                                                    U.S. Securities and Exchange Commission
                                                    Chicago Regional Office
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Plaintiff’s Motion For

Entry Of Final Judgments, By Consent, As To Defendants Akorn, Inc., Timothy Dick, And David

Hebeda has been served upon the following individuals by email delivery on March 26, 2018:

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Counsel for David Hebeda




                                                   /s/ Michael J. Mueller
                                                   Michael J. Mueller
                                                   Attorney for Plaintiff




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